Case 1:16-cr-00212-LAK Document 1538 Filed 01/11/21 Page 1 of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,
-against- 16-cr-0212 (LAK)
WALTER JERNIGAN,
Defendant(s).
sewer er Kg- gM Mg w~ew eww ee Pe ee ee we ee ee eee ee ee ee x
ORDER

LEwIs A. KAPLAN, District Judge.

The defendant’s motion for compassionate release (Dkt 1510) is denied substantially
for the reasons set out at paragraphs B, C and D of the government’s papers in opposition (Dkt
1536).

SO ORDERED.

Dated: January 11, 2021

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Lewig AMpistan
United States District Judge

 
